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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                           HARRISONBURG DIVISION


                                                            Action No: 3:17cv00072
  Elizabeth Sines, et al                                    Date: 6/5/18
  vs.                                                       Judge: Joel C. Hoppe, USMJ
                                                            Court Reporter: Karen Dotson, FTR
  Jason Kessler, et al
                                                            Deputy Clerk: Karen Dotson



  Plaintiff Attorney(s)                             Defendant Attorney(s)
  Roberta Kaplan,                                   James Kolenich,
  Philip Bowman,                                    John DiNucci,
  both present by phone                             David Campbell,
                                                    Michael Peinovich (pro se),
                                                    all present by phone
                                                    (Bryan Jones – not present)



                                      LIST OF WITNESSES

  PLAINTIFF/GOVERNMENT:                             DEFENDANT:
  1.                                                1.



  PROCEEDINGS:
  Telephone Status Conference:

  Parties was to discuss discovery schedule and trial schedule
  Plaintiff’s would like a trial date in May 2019
  Defendants in agreement with May 2019 date or later
  Parties estimate they will need 3-4 weeks for trial
  Judge Moon’s scheduling clerk will be in touch regarding a specific trial date
  Parties discuss document preservation
  Parties discuss ESI protocol




  Time in Court: 3:33 pm – 4:16 pm = 43 minutes
